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                             UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION
                                     www.flsb.uscourts.gov

In re:                                                             Case No.: 24-21209-LMI

SHIFTPIXY, INC., et. al.1                                          Chapter 7

          Debtors.                                             /

    TRUSTEE’S APPLICATION TO EMPLOY JESSE R. CLOYD AND THE LAW FIRM
                  OF AGENTIS PLLC AS ATTORNEYS FOR THE
                 CHAPTER 7 TRUSTEE AS OF JANUARY 31, 2025

                                      (Expedited Hearing Requested)

          Jacqueline Calderin, Chapter 7 Trustee (the “Trustee”), by and through her proposed

undersigned counsel, moves the Court, pursuant to Sections 327 of Title 11 of the United States

Code, 11 U.S.C. § 101, et seq. (the “Bankruptcy Code”), and Rule 2014 of the Federal Rules of

Bankruptcy Procedure (“FRBP”), for entry of an order authorizing the Trustee to employ and

retain Jesse R. Cloyd (“Applicant”) and the law firm of Agentis, PLLC (“Agentis”) to represent

the Trustee (the “Application”) in the above-styled matter, as of January 31, 2025, and in support

thereof, states as follows:

          1.      These matters were initiated by the Debtors, Shiftpixy, Inc., Shiftpixy Staffing,

Inc. and ReThink Human Capital Management, Inc. (the “Debtors”), upon the filing of voluntary

petitions (the “Petitions”) for relief under Chapter 11 of the Bankruptcy Code in this Court on

October 28, 2024.




1
 The Debtors are: (i) Shiftpixy, Inc.; (ii) Shiftpixy Staffing, Inc.; and (iii) ReThink Human Capital Management,
Inc. The address of the Debtors is 1401 NW 25th Street, Miami, FL 33142



         45 Almeria Avenue ∙ Coral Gables, Florida 33134 ∙ T. 305.722.2002 ∙ www.agentislaw.com
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       2.      On October 30, 2024, the Court entered an Order (i) Directing Joint

Administration of the Debtors’ Related Chapter 11 Cases and (ii) Granting Related Relief [ECF#

10] directing joint administration of the Debtors’ related chapter 11 cases.

       3.      On January 31, 2025, the Court entered the Order Granting Expedited Motion of

the Debtors for Entry of an Order Converting the Debtors’ Chapter 11 Cases to Cases Under

Chapter 7 of the Bankruptcy Code Upon the Closing of the Same [ECF No. 109] [ECF# 179]

(the “Conversation Order”).

       4.      Subsequently, Jacqueline Calderin was appointed the Chapter 7 Trustee (the

Trustee”) in the above styled matter [ECF# 182].

       5.      It is necessary that the Trustee employ an attorney to represent the Trustee in this

case to perform ordinary and necessary legal services required in the administration of the

Debtor’s estate (the “Estate”).

       6.      Agentis does not hold or represent any interest adverse to the Estate and the

Trustee believes that the employment of Applicant is in the best interests of the Estate.

       7.      Attached to this Application is the Affidavit of Applicant demonstrating that Jesse

R. Cloyd, and the law firm of Agentis are disinterested as required by 11 U.S.C. § 327(a) and a

verified statement as required under FRBP 2014 (the “Affidavit”). A true and correct copy of

Applicant’s Affidavit is attached hereto as Exhibit “A.”

       8.      Agentis has agreed to be compensated in accordance with 11 U.S.C. § 330 as of

January 31, 2025.

       9.      The Trustee believes that the Applicant is qualified to practice in the Bankruptcy

Court and is qualified to advise the Trustee on her relations with and responsibilities to the

Debtor, creditors, and other parties.
                                                  2
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       WHEREFORE, the Trustee respectfully requests entry of an order authorizing the

employment of Jesse R. Cloyd, Esq. and the law firm of Agentis, PLLC, to represent the Trustee

pursuant to 11 U.S.C. §§ 327 and 330, as of January 31, 2025, and for such other relief as the

Court deems just.

                                                    By:    /s/ Jacqueline Calderin, Trustee
                                                           Jacqueline Calderin, Trustee
                                                           1825 Ponce De Leon Blvd., #358
                                                           Coral Gables, FL 33134
                                                           E-mail: calderintrustee@gmail.com
                                                           T. 786.369.8440 Office




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                                   CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing was served by

transmission of Notices of Electronic Filing generated by CM/ECF to those parties registered to

receive electronic notices of filing in this case on February 4, 2025.

                        I HEREBY CERTIFY that I am admitted to the Bar of the United States
               District Court for the Southern District of Florida and I am qualified to practice in this
               Court as set forth in Local Rule 2090-1(A).

                                          AGENTIS PLLC
                                          Proposed Counsel for the Chapter 7 Trustee
                                          45 Almeria Avenue
                                          Coral Gables, Florida 33134
                                          T. 305.722.2002
                                          www.agentislaw.com


                                          By:      /s/ Jesse R. Cloyd
                                                   Jesse R. Cloyd
                                                   Florida Bar No: 58388
                                                   jrc@agentislaw.com




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                      Exhibit “A”
                       Affidavit
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                               UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                        MIAMI DIVISION
                                       www.flsb.uscourts.gov

In re:                                                              Case No.: 24-21209-LMI

SHIFTPIXY, INC. et al,1                                             Chapter 7

         Debtor.                                       /

AFFIDAVIT OF DISINTERESTEDNESS AND RULE 2014 DISCLOSURES OF PROPOSED
                   ATTORNEY FOR CHAPTER 7 TRUSTEE

STATE OF FLORIDA                    )
                                             ) SS:
COUNTY OF MIAMI-DADE )

         BEFORE ME, the undersigned authority, personally appeared Jesse R. Cloyd, in Miami,

Florida, who after being duly sworn, deposes and says as follows:

         1.        I am an attorney admitted to practice in Florida and the United States District Court

for the Southern and Middle District of Florida.

         2.        I am a partner at the law firm of Agentis PLLC (“Agentis”), with offices located at 45

Almeria Avenue, Coral Gables, Florida 33134. I am familiar with the matters set forth in this

Affidavit in support of the Trustee’s Application to Employ Jesse R. Cloyd, Esq. and the Law Firm of

Agentis PLLC as Attorneys for the Chapter 7 Trustee as of January 31, 2025 (the “Application”) 2.

         3.        In support of the Application, I disclose the following:

         4.        Unless otherwise stated, this Affidavit is based upon facts of which I have personal

knowledge.

         5.        In preparing this Affidavit, I reviewed lists of all of the creditors and interested

parties of the Debtors as provided by the Petition. I compared the information obtained with the

information contained in our law firm’s client and adverse party conflict check index system. The

1
  The Debtors are: (i) Shiftpixy, Inc.; (ii) Shiftpixy Staffing, Inc.; and (iii) ReThink Human Capital Management,
Inc. The address of the Debtors is 1401 NW 25th Street, Miami, FL 33142.
2
  All capitalized terms not expressly defined herein shall have the meanings ascribed to them in the Application.
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facts stated in this Affidavit as to the relationship between other lawyers in our law firm and the

Debtor, the Debtor’s creditors, the United States Trustee, other persons employed by the Office of

the United States Trustee, and those persons and entities who are defined as disinterested persons in

Section 101(14) of the Bankruptcy Code are based on the results of my review of our firm’s conflict

check index system.

        6.      Specifically, Agentis has (i) conducted a computer search of the firm’s records in to

determine any relationship that might exist with the creditors of each of the Debtors, and (ii)

disseminated a written request for information to all of the attorneys in our firm regarding

connections to the Debtor and the creditors of the Debtor. Based upon a search of the firm’s records

as described above and in paragraphs 9-11, below, our firm does not represent any entity in a matter

which would constitute a conflict of interest or impair the disinterestedness of Agentis as required by

FRBP 2014.

        7.      Agentis’s client and adverse party conflicts check system is comprised of records

regularly maintained in the course of business of the firm, and it is the regular practice of the firm to

make and maintain these records. It reflects entries that are noted in the system at the time. The

information becomes known by persons whose regular duties include recording and maintaining this

information.   I regularly use and rely upon the information contained in the system in the

performance of my duties with the law firm and in my practice of law.

        8.      Other than as set forth in this Affidavit, Agentis neither holds nor represents any

interest adverse to the Debtor and is a “disinterested person” within the scope and meaning of section

101 (14) of the Bankruptcy Code.

        9.       After conducting the computer search referred to in paragraph 6 above, the

following results were returned. None is a conflict of interest, nor do any of these returns impair the

disinterestedness of Applicant, but disclosure of this information is warranted in the interests of

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completeness. Robert P Charbonneau, another partner in Agentis, has represented and currently

represents Bulldog Investors, LLP (“Bulldog”), in litigation against the bankruptcy trustee for

Industrial Human Capital, Inc. (“IHC”).         IHC is a special purpose acquisition company (the

“SPAC”). ShiftPixy Investments, Inc. was the sponsor for the SPAC, and is a wholly owned

subsidiary of ShiftPixy, Inc., one of the Chapter 11 Debtor cases in which Clients have asked us to

appear. Upon information and belief, Shiftpixy Investments, Inc. owns 10% or more of the stock of

IHC. IHC’s Chapter 7 bankruptcy trustee may, but has not yet asserted claims against Bulldog.

Other than certain declaratory relief and affirmative defenses, Bulldog does not have an affirmative

financial claim against IHC or its Trustee.

        10.     On or about November 1, 2024, Robert Charbonneau was contacted by counsel for

Apizza, LLC, Food With Purpose, Northridge Shark, Fresh Opportunities, Inc., Feel Good About

Eating, LLC, and Sharky’s Beverly Hills, Inc., prior clients of one or more of the Debtors, and

possible creditors of these estates (“Possible Creditors”). Other than the possibility of his retention, it

is my understanding that Mr. Charbonneau had no further conversations with these creditors,

obtained no information from Possible Creditors about their dealings with the Debtors, and no

information from Possible Creditors about the operations of the Debtors that was not already publicly

available. It is my further understanding that the initial inquiry by counsel for Possible Creditors did

not result in Mr. Charbonneau’s engagement in any way.

        11.     Similarly, on or around December 5, 2024, Robert Charbonneau was contacted by

Timothy Papp as a possible purchaser in the Shiftpixy, Inc. case. Other than a brief discussion about

the assets offered for sale, Mr. Papp shared no other information with Mr. Charbonneau that was not

available to the public and through the sale motions, and Mr. Papp never retained Mr. Charbonneau.

After his initial contact with Mr. Papp, Mr. Charbonneau has had no further contact with Mr. Papp.




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Agentis does not believe that the foregoing results in a conflict of interest or an appearance of

impropriety.

        12.      Agentis represents many different clients with various business interests in numerous

industries. At present, Agentis does not currently represent a creditor of the Debtor in any matter

related to this case.

        13.      Neither I nor Agentis has or will represent any other entity in connection with this

case, and neither I nor Agentis will accept any fee from any other party or parties in this case, unless

otherwise authorized by the Court.

        14.      Agentis is not a creditor of, and asserts no prepetition claim against the Debtor.

        15.      The professional fees and costs incurred by Agentis in the course of its representation

of the Trustee in this case shall be subject in all respects to the application and notice requirements of

11 U.S.C. §§ 327, 330, and 331 and FRBP 2014 and 2016.

        16.      The hourly rates for paraprofessionals and attorneys at Agentis, range from $130.00

to $715.00. My current hourly rate is $575.00. Agentis typically adjusts its hourly rates annually on

January 1st.

        17.      There is no agreement of any nature, other than the shareholder agreement of our

firm, as to the sharing of any compensation to be paid to the firm. No promises have been received

by Agentis nor any member or associate thereof as to compensation in connection with this case

other than in accordance with the provisions of the Bankruptcy Code.

        18.      No attorney in the firm has any other interest, direct or indirect, that may be affected

by the proposed representation.

        19.      Except as set forth herein, no attorney in our firm has had or presently has any

material connection with the captioned Debtor, the Debtor’s creditors, any other party in interest or

their respective attorneys and accountants, the United States Trustee, or any person employed in the

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                       Exhibit “B”
                     Proposed Order
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                              UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                       MIAMI DIVISION
                                      www.flsb.uscourts.gov

In re:                                                              Case No.: 24-21209-LMI

SHIFTPIXY, INC. et al,1                                             Chapter 7

         Debtor.                                                /

    ORDER APPROVING TRUSTEE’S APPLICATION TO EMPLOY JESSE R. CLOYD,
          ESQ. AND THE LAW FIRM OF AGENTIS PLLC AS ATTORNEYS
            FOR THE CHAPTER 7 TRUSTEE AS OF JANUARY 31, 2025

         THIS MATTER came before the Court for hearing on _______________________ upon

the Trustee’s Application to Employ Jesse R. Cloyd, Esq. and the Law Firm of Agentis, PLLC as

Attorneys for the Chapter 7 Trustee as of January 31, 2025 (the “Application”)2 [ECF#                          ], and

having noted the disclosures made therein, finding that Jesse R. Cloyd, Esq. and the law firm of


1
  The Debtors are: (i) Shiftpixy, Inc.; (ii) Shiftpixy Staffing, Inc.; and (iii) ReThink Human Capital Management,
Inc. The address of the Debtors is 1401 NW 25th Street, Miami, FL 33142.
2
  Capitalized terms have the meaning ascribed to them in the Application unless otherwise defined herein.
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Agentis PLLC represent no interest adverse to the Trustee, the Debtors or their respective estates

in the matters upon which said attorneys are to be engaged, that said attorneys’ employment is

necessary and would be in the best interests of the Estate and the creditors, and being otherwise

duly advised ORDERS as follows:

       1.      The Application is APPROVED.

       2.      The Court FINDS that Jesse R. Cloyd, Esq. and the law firm of Agentis PLLC are

disinterested as defined in 11 U.S.C. § 101(14) and as required by 11 U.S.C. § 327(a).

       3.      Jesse R. Cloyd, Esq. and the law firm of Agentis, PLLC are designated as counsel

for Jacqueline Calderin, Chapter 7 Trustee, to represent the Trustee in the matters set forth in the

Application, and said employment is approved pursuant to 11 U.S.C. §§ 327 and 330, as of

January 31, 2025.

                                               ###


SUBMITTED BY:

Jesse R. Cloyd, Esq.
Florida Bar No: 58388
jrc@agentislaw.com
AGENTIS PLLC
Counsel for Chapter 7 Trustee
55 Alhambra Plaza, Suite 800
Coral Gables, Florida 33134
T. 305.722.2002
www.agentislaw.com


(Copy furnished to Attorney Cloyd, who is directed to serve a conformed copy of this order upon all
interested parties)




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